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                                        UNITED STATES DISTRICT COURT

                                       NORTHERN DISTRICT OF CALIFORNIA


           DAVID A. STEBBINS,                             Case No.22-cv-00546-JSW
                          Plaintiff,
                                                          CLERK’S NOTICE VACATING
                     v.                                   MOTION HEARING
           EMILY REBOLO, et al.,                          Re: Dkt. No. 21
                          Defendants.



                 YOU ARE HEREBY NOTIFIED that the hearing on the Motion for Leave to File

        Motion for Reconsideration and to Recuse, set for August 19, 2022 at 09:00 AM before Judge

        Jeffrey S. White, is VACATED and a written order will issue in due course.

        Dated: August 15, 2022
                                                       Mark B. Busby
                                                       Clerk, United States District Court



                                                       By: ________________________
                                                       Diyana Staples, Deputy Clerk to the
                                                       Honorable JEFFREY S. WHITE
                                                       510-637-3541




Clerk’s-Notice_CRD
rev. June 2018
